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> Exhibit 3 Sealed Documents Refelecting Records of TLC - February 25, 2008 [1-9]

Medallion Licensing Unit
l W&¥€§SSKE 32~02 Queens Boulevard, 2“" Floor
Long island City, New York 11101~2324
COMM!SS|ON Tez: 718-391-5745. Fax: 718~391~5695

Mnuhew W. Daus, Commissioner/Choir

Issuance # 3412
Date oQ' 07 § 'C§/
'ro wHoM rr MAY coN'cERN;

Please hccept this sealed document as a current reflection of the New
York City Taxi & Limousine Comrnissiou records for:

Corporation Name §,i'p\r\¢l l_o._. 54 {(zb,

Medallion Number (s) f t q L( l c`{(_l

 

The Ofiicers and Stockholders Are As Follows:

 

 

 

Offxcer’s Name ‘ Numher of Shares

President W‘~L gen €:{ €¢‘<A/ ' ______;Q.QQ.__.__._

V. President:

… J;QL §/A@,q/
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MedalMicensing \')

 

RESTR!CTED MEDALLION NUMBERS:

 

7"1"10 _~ 7T5() INDIVIDUAL (ALTERNATIVE FUEL VEHICLES ONLY)
8']`10 &, STI 1 INDIVIDUAL (ACCESSIBLE VEHICLES ONLY)

9T10 - 9ng INDmDUAL (ALTERNATIVE FUEL vEH!cLES ONLY)

7V10 __ 7v61 MINI-FLEET coRPGRATloN (ALTERNATIVE FUEL vEmcLEs <)NLY)
sgle _. gvgg _MINI-FLEET commanon (AccEssrBLB vEHIcLEs oNLY)

9V10 .. 9V99 MINI_FLEET commanon (ALTERNATIVE FUEL oNLY)

 

 

 

 

 

 

 

 

 

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> EXhibit 3 Sealed Documents Refelecting Records of TLC - February 25, 2008 [2-9]

Medallion Licensing Unit
NEW YORK C|TY 32-02 Queens Bou£evard, 2"° Floor
TAX} 8‘ UMOUS|NE Long lsland City, New Vork11101-2324
COMM|SS\ON Tel: 71&391-5745, Fax: 718-391-5695

Motfhew W. Dcws, Commissioner/Chcir

issuance # 3427
Date “9' °? 70?'
To WHOM lT l\»IAY CONCERN:

 

Please accept this sealed document as a current reflection of the New
York City 'I`axi & Limous`ine Commission records for:

Corporation Name M?"' ) 1 /Fw~sc l *z;;¢ .

Medauibn Number (s) 6 P ¢, 5 § F'é d .

 

 

 

The Ofiicers and Stockholders Are As Follows:

 

 

 

 

 

 

 

 

 

 

 

 

Officer’s Name Number of Shares
President jQ/Co _L c,(/ é€' r;/ "'"""‘
V. President: '
Secretary: O?\l !J-€ 0 g / é€’ 17 2 00
/
Medz£liio/n Licensing

RESTRICTED MEDALLION NUMBERS:

 

7T10 - 7T50 INDIVIDUAL (ALTERNATIVE FUEL VEHICLES ONLY)
STIO & STI 1 INDIVIDUAL (ACCESSIBLE VEHICLES ONLY)

9T10 - 9'I`99 INDIVIDUAL (ALTERNATIVE FUEL VEHICLES ONLY)

7V10 -» 7V61 MlNI~FLEET CORP()RATION (ALTERNATIVE FUEL VEHICLES ONLY)
8V10 -- 8V88 MINI-FLEET CORPORATION (ACCESSIBLE VEHICLES ONLY)

9V10 - 9V99 MINI-FLEET CORPORATION (ALTERNATIVE FUEL ONLY)

 

 

 

 

 

 

 

 

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> Exhibit 3 Sealed Documents Refelecting Records of TLC - February 25, 2008 [3-9]

NEW vORK C[TY Meda¥|ion Licensing Unit w
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llc TA><¢ & uMOUSlNE E§;‘§.;?::§':§§?:::JF&%,§15‘3$52324
l COMM!SS|ON Te1:71a.391-5745, Fax: 718»391-5695
Mcmhew W. Dous, Commissioner/Chuir

Issuance # 3414
Date §' g § 'Og/

TO WHOM IT MAY CONCERN:

Please accept this sealed document as a current reflection of the New
York City 'I`axi & Limousine Commission records for:

Corporation Name - q v v _[9 ///”r§a n 3 di
Medanion Number (s) ‘?F é ’7 ?Fé<?/

The Officers and Stockholders Are As Follows:

 

 

 

 

 

 

Officer’s Name _ Number of Shares
President }?UA€I'? ('(’/-A€"Uq/ ________L_q!l___

V. President:

Secretary: j:;-Co_`) €{ 10 Q rZ'/ /L'ié)

 

 

 

 

 

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RESTRICTED MEDALLION NUMBERS:

 

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8T10 &, 8'1`1 1 INDIVIDUAL (ACCESSIBLE VEHICLES ONLY)

 

9T10 - 9T99 mmvmuAL(ALTERNATIvE FuEL vEHICLEs oNLY)

 

7V10 -- 7V61 MINI-FLEET CORPORATION (ALTERNATIVE FUEL VEHICLES ONLY)

 

SVIO -- SVSS MlNI-FLEET CORPOR.ATION (ACCESSIBLE VEHICLES ONLY)

 

 

 

9V10 - 9V99 MINI-I"LEET CORPORATION (ALTERNATWE FUEL ONLY)

 

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> Exhibit 3 Sealed Documents Refelecting Records of TLC - February 25, 2008 [4-9]

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L|cons|ng and Standords
32~02 Quoom Bm¢lovard

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Taxl & Um°usme Lo\\g island Clty. NV 1110y~

Commlssion ~1 212 227 6324 m

41 118 391 5615¢ax

issuance # 0690

Date

 

7‘ 1 3` ;.'.l.
'I`O WHOM IT MAY CONCERN:

P\case accept this sealed document as a current reflection of the
Ncw 'York City "I`axi & Limousine Commission records for:

Corporation Name: '/{//rr;l\ \/l/runs¢'{j ‘]x;c, k

Medallilm Numbcrs 5_£[£_§_ __._.~5_[’,@_£!._.

'l‘he Officcrs and Stock\\oldcrs arc us follows:

 

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Officer’s Namc Number of Sharcs

 

 

 

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V. Presidencz /

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> Exhibit 3 Sealed Documents Refelecting Records Of TLC ~ February 25, 2008 [5-9]

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32-02 Quoens Boulovnrd
Taxi & Limousine mm nunc com NY mm

Commlssion n 212 221 6324 m

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Date '7' t 5‘ sa.

'\`O WHOM IT MAY CONCERN'.

I’lease accept this sealed document as a current ref¥ect.ion of thc
Ncw York City 'l`axi & Limousinc Commission records for:

`Corporation Name: §"F\‘¢-\SM£ ¢_n.l, fn
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Mcda¥lion Numl)ers l K \Hf l K Ll";l
'E`he Officers and Stock|\oldcrs are as fo!iows:

()fficer’s Name _N_u_l__r!_|g_<;§__q_f§l\_;g¢_c_s
l’rcside\\¢ ?\)\4 ken 'E \ L<:m , ppm

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> EXhibit 3 Sealed Documents Refelecting Records of TLC ~ February 25, 2008 [6-9]

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+1718 391 5610 tax

l&c\¢nuce lt 0680

Daf¢ __.‘Z;LBL'_’_~.'..%__~

__......_..__.

'I`O WH(_`)M IT MAY' CONCBRN:

Pleasc accept this sealed document as a current reflection of the
New York (`.`ity Taxi & Limousinc Commission records fort

Corporation Namc: Fr¢.¢é //im_z~ (;;,,
Mcda!lion Numbers ‘YJ’() ‘7 ‘I"J'é¢?

 

The Offieers and Stockho|ders are as fo!fc)ws:

 

 

 

 

 

Oft“xeer’s Na!p_g _l\_l_g_!§_\__l;cr of Sbm'es
President po ivan 57 Ix'-rq/ lou

V. I’rcsi¢¥ent:

Secretary: 'J;CeL /i'//Z*rm/` / 00
Stoekholder:

 

 

 

 

Medallion l%nsing
RES'\‘mCrE:D MEDA\.L!ON NuM\sl=.Rs:

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CaSe 1-17-46613-nh| DOC 40-1 Filed 03/08/18 Entered 03/08/18 09223243

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> Exhibit 3 Sealed Documents Refelecting Reccrds of TLC - February 25, 2008 [7-9]

 

Licensing and Stendards Dwision
32-02 Queans Bou|ovard
Long leland Cily, NV11101~2324
Taxi & Limousine
commission ' +1 713 391 5501 fei. MQQMLQ

 

issuance # 4357

Date: October 9, 2014

To Whom lt May Concern:

Please accept this sealed document as a current reflection of the New York City Taxi &

Limousine Commissicn records showing that MER|LL TRANS|T \NC.
(Name of Corporat§on)

is the Owner of Medal|ion #(s) 5P65 and 5P66.

M§WQ»L

e¥;'York C Taxi & imousine Commission
e¥:a||ion Lice nit

 

The Officers end Stockholders on record are as follows:

 

 

 

 

 

 

 

 

|f Applicable: Name: Shares:
President E\berg, Jacob 0
Secretary E|berg, Ruben 200
Vice President
Treasurer
Stockho¥der

 

 

 

 

 

For a complete listing of ali Restricted Medal|ions ptease visit our website at www.nyc.gev/tlc

Medallion Owner Verif\cauon - Corporate 6112/14

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> Exhibit 3 Sealed Documents Rcfelecting Records of TLC - February 25, 2008 [8-9]

Llconsing and Standards DMslon
32-02 Queens Bou!ovand
Long bland City, NY11101~2324

 

Taxi & Limouslne
Commlssion 01 713 391 5501 cei. w,nyg.govmc

 

issuance # 4356

Date: October 9, 2014

To Whom lt May Concern:

Please accept this sealed document as a current reflection of the New York City Taxi &

leousine Commission records showing that SPlN[_}_l_._§ CA§ COB__P.
(Name of Corpo¢ation)
is the Owner of Medalllon #(s) 1K44 and 1K47.

low

Ne\}/ York Clty TaM i & limousine Commission
Medallion Licensir)g~ldz

 

Ttte Oft"icers and Stockholders on record are as follows:

 

 

 

 

 

 

 

 

lf Applical:)te: Name: Shares:
Presiclent Elberg, Ruben 200
Secretary Elberg, Jacob 0
Vice President
Treasurer
Stockholcter

 

 

 

 

 

For a complete listing of all Restricted Medallions please visit our website at www.nyc.gov/tlc

Medalllon OWner Verilicatlon - Corporate 6/12/14

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> Exhibit 3 Sealed Documcnts Refelccting Records of TLC - February 25, 2008 [9-9]

licensing and Standards Dlvlsion
32-02 Queens Boulovard
Long lsland Clty, NV 11101-2324

 

Taxi & Limouslne
Commission

+1 718 391 5501 tel, M,.govlt§

 

lssuance # 4355

Date: October 9, 2014

To Whom lt May Concern:

Please accept this sealed document as a current reflection of the New York City Taxi &

Limousine Commlssion records showing that JARUB TRANS CORP.
' (Name of Corporation)

is the Owner of lviedallion #(s) 9J67 and 9J68.

cl… ge

Ne Yorl< City axi Limousine Commission
Med llion Licensmg Unit

 

 

 

 

the Officers and Stockholders on record are as follows:

 

 

 

 

 

 

 

lf Appllcable: Name: Shares:
President Elberg, Ruben 100
Secretary Elberg, Esma 100
Vice President
Treasurer
Stockhclder

 

 

 

 

 

For a complete listing of all Restricted Medallions please visit our website at www.nyc.gov/tlc

Medallicn owner Verincation - Corporalc 611 2114

